Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 1 of 15




                                                                  2
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 2 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 3 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 4 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 5 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 6 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 7 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 8 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 9 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 10 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 11 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 12 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 13 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 14 of 15
Case 5:18-cv-01242-SLP Document 1-2 Filed 12/19/18 Page 15 of 15
